 Case 2:10-cr-00091   Document 214    Filed 12/27/12   Page 1 of 5 PageID #: 859



                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:10-00091-06

ANDREWIENA LYNN CORATHERS


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On December 27, 2012, the United States of America

appeared by Joshua C. Hanks, Assistant United States Attorney,

and the defendant, Andrewiena Lynn Corathers, appeared in person

and by her counsel, Tim C. Carrico, for a hearing on the petition

on supervised release and amendment thereto submitted by United

States Probation Officer Jeffrey D. Bella, the defendant having

commenced a three-year term of supervised release in this action

on May 12, 2011, as more fully set forth in the Judgment

Including Sentence Under the Sentencing Reform Act entered by the

court on January 10, 2011.


           The court heard the admissions of the defendant and the

representations and argument of counsel.
 Case 2:10-cr-00091   Document 214   Filed 12/27/12   Page 2 of 5 PageID #: 860



           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that as of

September 11, 2012, the defendant had while on supervised release

committed the state felony offense of fraudulent schemes, a

criminal complaint having been filed that date in Lincoln County

Magistrate Court, as evidenced by the defendant’s stipulation on

the record of the hearing that the government possesses

sufficient proof to prove the offense by a preponderance of the

evidence; (2) that the defendant used and possessed controlled

substances as evidenced by her admissions to the probation

officer on September 3 and 6, 2012, that she had used OxyContin

without a prescription during the months of June, July, August

and September 2012, and as admitted by her on the record of the

hearing; (3) that the defendant failed to be in contact with the

probation officer as instructed from September 6, 2012, until the

date of the petition of November 7, 2012, rendering her

whereabouts unknown to the probation officer, as admitted by her

on the record of the hearing; (4) that the defendant failed to

follow the instructions of the probation officer in that she

failed to report to the Huntington Probation Office on September

10, 2012, as instructed by the probation officer on September 6,

                                     2
 Case 2:10-cr-00091   Document 214   Filed 12/27/12   Page 3 of 5 PageID #: 861



2012, as admitted by her on the record of the hearing; (5) that

the defendant failed to notify the probation officer at least 10

days prior to her change in residence inasmuch as she left her

approved residence on September 7, 2012, and did not return as of

the date of the petition of November 7, 2012, as admitted by her

on the record of the hearing; and (6) that the defendant used and

possessed controlled substances as evidenced by a positive urine

sample submitted by her on November 28, 2012, for methamphetamine

and amphetamine, the defendant having also admitted to the

probation officer that same date that she had used marijuana and

Lortab, for which she had no prescription, as admitted by her on

the record of the hearing; all as set forth in the petition on

supervised release and amendment thereto.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

                                     3
 Case 2:10-cr-00091   Document 214   Filed 12/27/12   Page 4 of 5 PageID #: 862



Procedure, and finding, on the basis of the original offense, the

intervening conduct of the defendant and after considering the

factors set forth in 18 U.S.C. § 3583(e), that the defendant is

in need of correctional treatment which can most effectively be

provided if she is confined, it is accordingly ORDERED that the

defendant be, and she hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

SIX (6) MONTHS, to be followed by a term of thirty (30) months of

supervised release upon the standard conditions of supervised

release now in effect in this district by order entered June 22,

2007, and the further condition that the defendant not commit

another federal, state or local crime and the special condition

that she participate in the Prestera drug abuse counseling and

treatment program at Pinecrest on a residency basis for a period

of sixty (60) days and participate in any after-care program

available through Prestera or any other such location as directed

by the probation officer.


           The defendant was remanded to the custody of the United

States Marshal.




                                     4
 Case 2:10-cr-00091   Document 214   Filed 12/27/12    Page 5 of 5 PageID #: 863



           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the

United States Probation Department, and the United States

Marshal.


                                         DATED:       December 27, 2012


                                         John T. Copenhaver, Jr.
                                         United States District Judge




                                     5
